                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


A.S., a minor, by his next friends AMY A.,
                                      )
mother and JEFF S., father; and A.B., a
                                      )
minor, by her next friends JULIE B., mother
                                      )
and ROSS B., father,                  )
                                      )                  NO. 3:21-cv-00600
      Plaintiffs,                     )                  JUDGE RICHARDSON
                                      )
v.                                    )
                                      )
BILL LEE, in his official capacity as )
Governor of Tennessee, et al.,        )
                                      )
      Defendants.                     )

                                           ORDER

       In light of the parties’ “Stipulation Regarding Stay of the Case” (Doc. No. 81), which the

Court has honored, (Doc. No. 82), the bench trial set for February 7, 2023, and the pretrial

conference set for January 27, 2023, are hereby CANCELED.

       IT IS SO ORDERED.


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                                                    ELI RICHARDSON
                                                    UNITED STATES DISTRICT JUDGE




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